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16                         UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORIA
18                                SOUTHERN DIVISION
19    IN RE: TOYOTA MOTOR CORP.       Case No.: 8:10ML2151 JVS (FMOx)
      UNINTENDED ACCELERATION
20    MARKETING, SALES PRACTICES, AND CERTAIN ECONOMIC LOSS
      PRODUCTS LIABILITY LITIGATION   PLAINTIFFS’ MOTION FOR
21                                    THE APPLICATION OF
      This documents relates to:      CALIFORNIA LAW
22
      ECONOMIC LOSS ACTIONS                        Date:       May 16, 2011
23                                                 Time:       3:00 p.m.
                                                   Location:   Courtroom 10C
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 1             Certain Economic Loss Plaintiffs hereby respectfully request that the Court
 2    select California substantive law to govern all claims against Defendants Toyota
 3    Motor Corporation (“TMC”) and Toyota Motor Sales, U.S.A., Inc. (“TMS”)
 4    (together, “Toyota” or “Defendants”), which plaintiffs assert on behalf of
 5    themselves and the nationwide Classes they seek to represent.1
 6    I.       Introduction
 7             Toyota has conceded, as it must, that “the choice of law rules applicable to
 8    each plaintiff must be applied to the claims of that plaintiff,” Doc. 325-1 at 3 n.1,
 9    which necessarily means that California’s choice-of-law rules apply to plaintiffs
10    who filed suit in California. The issue presented by this motion is whether the
11    Court properly may apply California law to the state-law claims of non-resident
12    plaintiffs and class members.
13             From the time Toyota vehicles first reached American shores through today,
14    no State has figured more prominently in Toyota’s national marketing and sales
15    activities than the State of California, which has been the headquarters of Toyota’s
16    marketing and sales operations in the United States since 1957. The claims asserted
17    in this economic loss litigation arise primarily from those activities.
18             Toyota systematically bombarded American consumers with advertising and
19    marketing communications that touted the safety and reliability of Toyota vehicles.
20    Plaintiffs allege that those communications were false and misleading.         Those
21    communications are at the center of this litigation.        They were authored and
22    disseminated throughout the nation by TMS, a California corporation, from its
23    headquarters in Torrance, California. TMS also takes title to and is the reseller of
24    all Toyota vehicles sold in the United States. Thus, all of the vehicles at issue in
25    this litigation were placed into the American stream of commerce by TMS. That
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      1
       All of the moving plaintiffs first appeared in this litigation in complaints filed in
27    California. The moving consumer and non-consumer plaintiffs are listed in
      Table 1, attached hereto.
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 1    stream—and the deluge of false and misleading communications that sustains it—
 2    emanate from Torrance. TMC is a Japanese company that sells and markets its
 3    vehicles through TMS, its wholly-owned indirect subsidiary. TMC is alleged to be
 4    responsible for the actions of TMS. See, e.g., SAMCC ¶ 421 (Doc. 620).
 5          Those facts, standing alone, justify plaintiffs’ invocation of California law on
 6    behalf of the nationwide class. Toyota’s relationships with California are, however,
 7    not limited to these facts but rather range across a wide array of activities taking
 8    place in California. California is where Toyota created training materials used to
 9    teach salesmen to emphasize the safety and reliability of the Toyota products they
10    were selling.    California is where Toyota was put on notice of the sudden
11    unintended acceleration (“SUA”) problem. California is where Toyota took steps
12    to conceal that problem. California is where Toyota rejected claims made by SUA
13    victims. California is where Toyota made decisions about what SUA incidents to
14    report to NHTSA and how to describe them. California is where Toyota evaluated
15    and tuned its electronic throttle control system (“ETCS”) and new brake-override
16    system for the American market. The record leaves no doubt that major aspects of
17    the alleged conduct that gives rise to plaintiffs’ claims took place in California.
18    This certainly is true for all of plaintiffs’ claims that arise from false and misleading
19    marketing communications, which were authored by TMS and emanated from its
20    headquarters in Torrance, California.
21          Because Torrance, California is the epicenter for conduct giving rise to
22    plaintiffs’ claims, the United States Constitution’s modest limitations on choice of
23    law are easily met in this case.        Consequently, California law presumptively
24    applies. To rebut that presumption, Toyota must persuade the Court that other U.S.
25    jurisdictions have a legitimate interest that is paramount to California’s substantial
26    interest in regulating the conduct of a California corporation that took place within
27    its borders. Because Toyota cannot make that showing, any conflicts of law that
28    might exist are legally irrelevant.
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  1           It is therefore respectfully submitted that the Court should select California
  2   substantive law to govern the claims of class members nationwide.
  3   II.     Standard of Review
  4           Because all of the moving plaintiffs (including those who reside out of state)
  5   first appeared in complaints filed in California, the Court must apply the same
  6   choice-of-law rules that a California state court would apply. See Klaxon Co. v.
  7   Stentor Elec. Mfg. Co., 313 U.S. 487, 61 S. Ct. 1020, 85 L. Ed. 1477 (1941); Van
  8   Dusen v. Barrack, 376 U.S. 612, 84 S. Ct. 805, 11 L. Ed. 2d 945 (1964); Ferens v.
  9   John Deere Co., 494 U.S. 516, 110 S. Ct. 1274, 108 L. Ed. 2d 443 (1990).
 10   California state courts apply California’s “governmental interest” analysis to multi-
 11   state class actions. See Washington Mutual Bank v. Superior Court, 24 Cal. 4th
 12   906, 919–21, 103 Cal. Rptr. 2d 320 (2001). Accordingly, California’s choice-of-
 13   law rules and its governmental interest analysis govern this motion.2
 14           Before engaging in that analysis, the Court must first determine whether the
 15   application of California law to the claims of class members nationwide satisfies
 16   constitutional requirements. In that respect, plaintiffs bear the initial burden of
 17   showing that California “has a significant contact or significant aggregation of
 18   contacts to the claims asserted by each member of the plaintiff class, contacts
 19   creating state interests, in order to ensure that the choice of the forum’s law is not
 20
      2
        Toyota repeatedly has argued that because this is an MDL proceeding, the choice-
 21   of-law rules of all transferor states should apply. See, e.g., Doc. 520 at 3, 9–11.
 22
      Toyota is wrong because this motion is brought only by plaintiffs who originally
      filed suit in California. Only California’s choice-of-law rules apply to them
 23   because the Court must apply the law of the forum in which the moving plaintiffs
      first filed suit in deciding this motion. See In re Propulsid Prods. Liab. Litig., 208
 24   F.R.D. 133, 142 (E.D. La. 2002) (“[T]he Court looks to the specific action brought
      before the Court for class certification, namely the Indiana complaint, to determine
 25   which state’s choice-of-law rules apply.”); In re Vioxx Prods. Liab. Litig., 239
      F.R.D. 450, 454 (E.D. La. 2006) (“[T]he Court will once again look to the specific
 26   action brought before it for class certification—the New Jersey complaint—and
      will apply New Jersey’s choice-of-law rules . . . .”). For additional points and
 27   authorities on this subject, we respectfully refer the Court to briefing Plaintiffs
      submitted earlier in this litigation. See Doc. 320.
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  1   arbitrary or unfair.” Washington Mutual, 24 Cal. 4th at 921.3 As discussed in
  2   section IV below, that burden is minimal and easily satisfied in this case.
  3   Therefore, California law presumptively applies. See Keilholtz v. Lennox Hearth
  4   Prods. Inc., 289 F.R.D. 330, 340 (N.D. Cal. 2010); Pecover v. Electronic Arts Inc.,
  5   2010 U.S. Dist. Lexis 140632, *53 (N.D. Cal. Dec. 21, 2010); Rasidescu v.
  6   Midland Credit Mgmt., Inc., 496 F. Supp. 2d 1155, 1159 (N.D. Cal. 2007).
  7            To rebut that presumption, Toyota bears the burden of showing that “foreign
  8   law, rather than California law, should apply to class claims” under California’s
  9   governmental interest analysis. Washington Mutual, 24 Cal. 4th at 921. That
 10   analysis has three steps.
 11            Step 1:   “the court determines whether the relevant law of each of the
 12   potentially affected jurisdictions with regard to the particular issue in question is the
 13   same or different.” Kearney v. Salomon Smith Barney, Inc., 39 Cal. 4th 95, 107, 45
 14   Cal. Rptr. 3d 730 (2006).
 15            Step 2: “if there is a difference, the court examines each jurisdiction’s
 16   interest in the application of its own law under the circumstances of the particular
 17   case to determine whether a true conflict exists.” Id. at 107–08 (emphasis added).
 18   A “true conflict” exists only when another jurisdiction has “a legitimate interest in
 19   the application of its law to the circumstances of this case.” Pokorny v. Quixtar,
 20   Inc., 601 F.3d 987, 995 (9th Cir. 2010). If Toyota fails to demonstrate a true
 21   conflict, then the Court “may properly find California law applicable without
 22   proceeding to the third step of the analysis.” Id.
 23            Step 3: “if the court finds that there is a true conflict, it carefully evaluates
 24   and compares the nature and strength of the interest of each jurisdiction in the
 25   application of its own law to determine which state’s interest would be more
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      3
          Unless indicated, case citations do not include internal citations or quotations.
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  1   impaired if its policy were subordinated to the policy of the other state.” Kearney,
  2   39 Cal. 4th at 108 (emphasis added).
  3           In sum, any conflicts of law that might exist are not dispositive. So long as
  4   due process is satisfied, then—despite any conflicts that might exist—the Court can
  5   and should apply California law unless Toyota shows that other jurisdictions have a
  6   legitimate interest that is paramount to California’s substantial interest in having its
  7   law applied to this case. Toyota cannot make that showing.
  8   III.    Statement of Facts
  9           A.    Toyota’s Operations in California
 10           Toyota entered the United States auto market when two Toyota Crowns
 11   arrived in Los Angeles in August 1957. Ex. A at 166. Two months later, TMC
 12   founded TMS as its “sales and marketing arm for Toyota products in the United
 13   States, excluding Hawaii.” Id.; Ex. B at 37:6–12, 222:21–24.
 14           TMS has been incorporated under California law and headquartered in what
 15   is now the Central District of California throughout its 53-year existence. Ex. C at
 16   2; Ex. D, Nos. 1–2. Its first offices were in Beverly Hills, but were later moved to
 17   Hollywood. Ex. A at 166, 168. After explosive growth in the 1960s, TMS built a
 18   new head office building in Torrance in 1967. Id. at 210–11.4 To this day, the
 19   Torrance campus is the national headquarters for TMS’s operations across the
 20   United States.5
 21           TMS’s “nerve center” is in California. All officers of TMS have offices in
 22   Torrance, and in the last 13 years, only three have had a home address outside of
 23   California while serving as a TMS officer. See Ex. C at 3; Ex. 43; Ex. B at 293:11–
 24   4
        With that growth, TMS became the first foreign automaker in the U.S. to carry out
 25   “systematic television advertising campaigns.” Ex. A at 210–11. One of its early
      slogans was “Toyota: We’re quality oriented.” Id. at 211.
 26
      5
       The Torrance campus now consists of 13 buildings. Ex. F at 75:18–76:17. As of
 27   March 31, 2010, TMS’s California facilities covered 880,000 square meters (~217
      acres), most of which is owned by TMC or its subsidiaries. Ex. 84 at 50.
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  1   19; Ex. E at 5. TMC also has a significant management presence in Torrance.
  2   Numerous Japanese “coordinators” and executive managers come from TMC in
  3   Japan to fulfill senior roles at TMS. Ex. 42; Ex. B at 31:21–32:13, 237:7–238:11,
  4   240:23–242:2, 252:23–253:6.
  5           From 1998 to the present:
  6            TMS employed 3–4,000 “associates” in California—more than all
  7              other U.S. jurisdictions combined. See Ex. G, attach. A; see also
  8              Ex. D, No. 18.
  9            TMC, through NUMMI, manufactured                     Toyota Corollas
 10              and          Toyota Tacomas in Fremont, California. Ex. H at 4–5
 11              (filed under seal). Most if not all of these vehicles were equipped
 12              with ETCS. Ex. I, Nos. 98–100; Ex. 1.6
 13            More Toyota, Lexus, and Scion vehicles entered the U.S. at ports
 14              of entry in California (Long Beach and Benicia) than ports of entry
 15              in any other U.S. jurisdiction. Ex. J at 2–3 & attach. A.
 16            California is home to more authorized Toyota, Lexus, and Scion
 17              dealerships than any other U.S. jurisdiction. Ex. D, Nos. 74–79;
 18              Ex. J at 3 & attach. B.
 19            California consumers purchased or leased more new and pre-
 20              owned ETCS-equipped vehicles than consumers in any other U.S.
 21              jurisdiction. Ex. K at 2–3, 12–126; Ex. L at 4–5 & attachs. B–C
 22              (filed under seal).
 23   6
        In 1984, TMC and GM entered into a joint venture known as New United Motor
 24   Manufacturing, Inc. (“NUMMI”) to manufacture automobiles in Fremont,
      California. Ex. I, No. 102. Although NUMMI was Toyota’s first U.S. plant for
 25   assembling finished vehicles, Toyota had already been manufacturing component
      parts in California since 1974 when it established TABC, Inc., its first North
 26   American manufacturing plant, in Long Beach. Ex. D, Nos. 47, 49. TABC is a
      California corporation. Id., No. 46. It currently produces sheet metal components,
 27   steering columns, coated catalytic substrates, and weld sub-assemblies for Toyota’s
      manufacturing facilities. Id., No. 50.
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  1            In particular, California consumers purchased or leased
  2                new and used MY2002–2010 Toyota Camrys, which represents
  3                17% of all such vehicles purchased or leased in the U.S.—far more
  4                than any other U.S. jurisdiction. Ex. K at 2–3, 20–21; Ex. L at 4–5
  5                & attach. C (filed under seal).
  6            TMS paid over $437 million in taxes to the California Franchise
  7                Tax Board, which presumably derived from revenues from the sale
  8                and lease of vehicles nationwide. Ex. D, No. 7.
  9            NUMMI received over $10 million from California’s Employment
 10                Training Panel, making it one of the largest single recipients of
 11                such grants in California history. Ex. M at 9.7
 12           B.      The Fraud Emanated from California.
 13                   1.     The Deceptive Marketing Communications at Issue Were
 14                          Developed, Approved, and Disseminated from California.
 15           Plaintiffs intend to prove at trial that despite notice of the SUA problem
 16   (discussed in section III(B)(3) below), TMC, acting through TMS, continued to
 17   devise and execute nationwide advertising campaigns and other marketing efforts
 18   that touted the safety, reliability, and resale value of its vehicles. See, e.g., Ex. N at
 19   298:25–299:17 (reliability has been a consistent theme in Toyota advertising).
 20           The false and misleading statements that give rise to plaintiffs’ claims consist
 21   primarily of marketing communications disseminated nationwide, including sales
 22   brochures and advertisements in print, broadcast, and online media. Take, for
 23   example, the sales brochure for the 2002 Camry, a model purchased or leased by
 24   over 375,000 class members. Ex. K at 20–21 (filed under seal). The brochure
 25
      7
 26     In addition, major infrastructure improvements have been performed “explicitly
      for” NUMMI “and to meet its needs.” Ex. M at 9. For example, the Port of
 27   Oakland was dredged in the late 1990s to accommodate cargo ships that service
      NUMMI at a cost of $410 million. Id.
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  1   touted the Camry’s “incredible dependability and safety features galore.” Ex. 228
  2   at 233; Ex. O at 98:12–2.8 That brochure, and dozens like it, were statements
  3   authored by TMS and distributed by TMS to consumers nationwide. Ex. P at
  4   83:19–21, 87:2–5, 87:25–88:2, 89:9–19 (referring to Ex. 226 and Ex. 227) (filed
  5   under seal).9 Similarly, from its offices in Torrance, TMS gave final approval to
  6   the dissemination of print advertisements that emphasized the safety of Toyota
  7   products. Exs. 70–74; Ex. O at 109:07–21; Ex. P at 91:13–92:4 (filed under seal).
  8   In fact, no national advertisement promoting the sale or lease of Toyota, Lexus, or
  9   Scion vehicles in the United States is publicly disseminated until TMS gives the
 10   green light. Ex. P at 94:1–5 (filed under seal).10
 11            The fact that the sales brochures and advertisements were statements by
 12   TMS, on behalf of itself and TMC, that emanated from California probably is the
 13   single most important fact for purposes of this motion. But by no means does
 14   California’s connection to the alleged wrongdoing stop there. California was not
 15   just the place where the false and misleading statements originated; it was the
 16   breeding ground for those statements, from conception to execution.
 17            The marketing departments for the Toyota, Lexus, and Scion divisions of
 18   TMS have been located in Torrance throughout the Class Period. Exs. 67–69; Ex.
 19
      8
        Although a few mock-ups of sales brochures happened to be included in Toyota’s
 20   production pursuant to Order No. 3, Toyota still has not produced any marketing
      communications in response to Plaintiffs’ specific requests for those documents and
 21   the Court’s Order requiring their production. See Order No. 11 at 4 (Doc. 620)
 22
      (“Production of sales and marketing documents shall commence on a rolling basis
      in Phase II and shall be completed in Phase III.”).
 23   9
       The fact that TMS authored the marketing communications at issue is confirmed
 24   by the fact that TMS copyrighted the materials in its name. See Exs. 70–74; Ex.
      226 at 272810; Ex. 227 at 272866; Ex. 228 at 244. Copyright “vests initially in the
 25   author or authors of the work.” 17 U.S.C. § 201(a).
      10
 26     Advertising campaigns are approved for dissemination by the TMS Group Vice
      President for the Toyota division, and individual advertisements are approved by
 27   the TMS Vice President for marketing and the manager of the marketing
      communications group. Ex. P at 96:4–97:19 (filed under seal); see also Ex. 43.
 28
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  1   O at 38:9–23, 40:3–14, 42:25–43:13, 47:23–48:11, 49:23–50:19; Ex. N at 179:19–
  2   25. Those departments are responsible for Toyota’s “Tier One” (i.e., national)
  3   sales-oriented marketing in the United States. Ex. O at 25:23–26:10, 27:23–28:8. 11
  4   Their role is to create “images” for Toyota, Lexus, and Scion vehicles in order to
  5   support TMC’s sales objectives in the United States. Id. at 27:3–17.
  6            Within the Toyota division’s marketing department, the members of the
  7   marketing communications group depicted on Exhibit 67 are responsible for
  8   advertising the Toyota brand.        Ex. O at 8:7–9.       Specifically, that group is
  9   responsible for developing marketing strategies, as well as producing and placing
 10   national advertising in various media channels. Id. at 7:8–22; Ex. N at 69:18–73:9.
 11   Since 2004, it has been the “hub” of the marketing effort for the Toyota division.
 12   Ex. O at 7:17, 10:9–19.12
 13            The marketing communications group works with the Toyota division’s
 14   product marketing teams, which also are based in Torrance.13 Those teams are
 15   responsible for prioritizing vehicle’s features into “key selling points.” Ex. 225 at
 16   19 (filed under seal); Ex. P at 77:11–79:20, 81:11–15 (filed under seal). For
 17

 18   11
         Tier One national advertising is supplemented by regional and local advertising.
 19   TMS has an active role in influencing the content of those ads, which are subject to
      the Toyota Dealer Advertising Covenant (“TDAC”). Ex. N at 242:3–243:2; Ex. Q
 20   at 84891 (“XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
      XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
 21   XXXXXXXX.”) (filed under seal). The record shows that most, if not all, regional
 22
      and local advertising focuses on price, special offers, and clearance events such as
      “Toyotathons.” See Ex. Q at 84896–926 (filed under seal); Ex. O at 149:19–
 23   153:10.
      12
 24     The marketing departments for the Lexus and Scion divisions are organized
      somewhat differently, but perform the same functions as the Toyota division’s
 25   marketing department. Ex. O at 44:8–50:24; Exs. 68–69.
      13
 26     There are two product marketing teams: one for SUVs and trucks, and one for
      cars and minivans. Those groups currently are managed by Kevin Higgins and
 27   Rick LoFaso, respectively. Ex. N at 54:16–55:3; Ex. O at 44:16–24. Messrs.
      Higgins and LoFaso are based in Torrance. See Ex. B at 293:11–19; Ex. 43.
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  1   example, key selling points for the 2006 Camry included safety and “QDR”—
  2   quality, dependability, and reliability. Ex. 225 at 19; Ex. R at 92:24–93:7.
  3            The marketing effort is also informed by market research, including
  4   consumer surveys, focus groups, and clinic research. Ex. N at 82:24–90:10. The
  5   12–15 person team responsible for market research is based in Torrance. Id. at
  6   96:3–20. It has always operated out of Torrance. Ex. O at 53:12–19.
  7            The marketing communications group is responsible for managing the
  8   advertising agencies that support TMS’s Tier One advertising for the Toyota brand.
  9   Ex. O at 19:2–13, 57:2–12. Toyota’s longtime advertising agency “of record,” i.e.,
 10   lead advertising agency, for the Toyota division has been Saatchi & Saatchi Los
 11   Angeles (“Saatchi LA”), also located in Torrance. Ex. N at 151:6–11, 152:13–16,
 12   153:25–154:10; Ex. O at 70:7–13.14 Toyota is its exclusive client. Ex. N at
 13   154:14–17.15 The advertising agencies for the Lexus and Scion divisions also are
 14   concentrated in California. Team One, a Saatchi affiliate that is located in El
 15   Segundo, has been the Lexus division’s agency of record since the Lexus brand was
 16   formed. Ex. N at 46:7–16, 149:23–150:7. The Scion division’s agency of record is
 17   ATTIK. Id. at 176:1–5. TMS’s main contact with ATTIK is at its offices in San
 18   Francisco. Ex. O at 72:2–8.
 19            The enormity of the Toyota marketing machine and the extent to which its
 20   wheels turn in California are reflected in the sums TMS pays its ad agencies.
 21   During the Class Period, TMS paid its advertising agencies more than
 22   14
        “Agency of record” is a term of art that refers to the “main ad agency” with “core
 23   responsibility.” Ex. N at 176:6–19.
      15
 24      In addition to Saatchi LA, three other advertising agencies serve the Toyota
      division. Ex. N at 151:12–152:12; Ex. W at 54:8–20. The day-to-day work of two
 25   of those agencies (Conill and interTrend) takes place in Los Angeles and Long
      Beach, respectively. Ex. O at 70:22–71:10. Only one of them (Burrell) is outside
 26   California; even so, it typically works with TMS associates located in Torrance.
      Ex. N 187:7–17; Ex. O at 50:3–7, 54:21–55:5. Burrell’s work is demographically
 27   focused, Ex. N at 151:12–21, and relatively insignificant as compared to the work
      of Saatchi LA, as reflected in the amounts TMS pays to its California agencies.
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  1   Of that amount, at least                —around 92%—went toward the services of
  2   agencies located in California. See Ex. K at 3–9 (filed under seal); Ex. GG at 8–9.
  3            Indeed, virtually every relevant step of the advertising process—competitive
  4   analysis, market research, setting objectives, conceptual development and approval
  5   of ad campaigns, production of specific advertisements, review and approval of
  6   specific advertising elements, and placement in media channels—occurs in
  7   California. Ex. N at 157:14–166:22; Ex. O at 104:15–106:8.
  8                  2.    From California, TMS Taught Sales Consultants How to
  9                        Reinforce the Deceptive Marketing Communications.
 10            Sales consultants at Toyota, Lexus, and Scion dealerships receive training
 11   through the University of Toyota (or “U of T”), which has been a department at
 12   TMS since 1998 or 1999. Ex. R at 14:6–11, 31:10–13. It occupies the Plaza
 13   Building on 190th Street in Torrance, but also has offices elsewhere on the TMS
 14   campus. Id. at 32:20–33:12, 41:3–10. Within U of T, primary responsibility for
 15   training sales consultants falls to “Lexus College” and the Toyota and Scion Dealer
 16   Education Groups. Id. at 35:12–24, 36:24–37:11.16 Throughout U of T’s existence,
 17   approximately 50 people working in those three groups have been dedicated to
 18   dealer education. Id. at 39:5–40:13, 41:11–18.
 19            U of T provides courses regarding the Toyota vehicle lineup, how to present
 20   product features, and other core skills for sales consultants. Id. at 41:19–42:22.
 21   “Core” courses focus on the primary selling features of Toyota vehicles and which
 22   16
         In addition to U of T, dealerships receive training materials from TMS’s used
 23   vehicle, fleet, customer retention, and marketing departments, all of which are
      located in Torrance. Ex. R at 14:23–21:4, 22:8–18, 23:20–31:9. For example, the
 24   used vehicle department provides information to sales consultants to “help”
      customers “understand” that Toyota vehicles are a “better value” than the
 25   competition. Id. at 24:8–23. In addition to the sales brochures discussed above, the
      TMS marketing department provides dealerships showroom display materials,
 26   banners, and other “things that help the customer make an informed purchase
      decision.” Id. at 26:6–10. It also educates TMS’s regional offices (who in turn
 27   educate dealerships) about the details of upcoming advertising campaigns—again,
      to help consumers “make informed decisions.” Id. at 26:10–27:3, 29:6–30:15.
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  1   include competitive comparisons of safety features. Id. at 43:14–44:3, 47:5–48:3.
  2            U of T tracks course completion for purposes of its “certification program.”
  3   Ex. 248; Ex. R at 50:25–54:1. In order to become certified, TMS requires sales
  4   consultants to complete certain courses offered by U of T. Ex. Y at 61:14–62:11.
  5   Every certified sales consultant has taken a course developed by U of T that
  6   addresses the safety features of Toyota and Lexus vehicles. Id. at 91:15–92:13.
  7   One such required course is “Why Buy a Toyota” (or, for Lexus consultants, “Why
  8   Buy a Lexus”), which was developed by U of T in Torrance. Id. at 74:14–75:14,
  9   81:9–12, 84:15–85:4.17 It covers the features of Toyota’s “Star Safety System,”
 10   which are “among the most important features that . . . a customer would want to
 11   know about.” Id. at 79:1–80:19. The “Why Buy” course also addresses “QDR”—
 12   quality, dependability, and reliability. Id. at 92:4–93:16.18
 13            U of T offers other courses and training materials that address safety and
 14   QDR through websites that can be accessed directly by sales consultants. Id. at
 15   87:22–88:19, 93:21–96:2; Ex. 249. In addition, U of T publishes “Edge,” which
 16   compares Toyota vehicles with the competition in terms of safety and QDR “if
 17   there is a story there.” Ex. R at 126:7–128:9.19 Edge is effective. According to one
 18
      17
 19      TMS offers incentives for sales consultants to become certified. Certified sales
      consultants are eligible to be “recognized” by the TMS marketing department. Ex.
 20   R at 54:13–59:8. Recognition allows sales consultants to designate themselves as
      being more successful than sales consultants who are not recognized; they also
 21   receive plaques, special business cards, monetary rewards of up to $500, and trips
 22
      to destinations such as Hawaii and the Bahamas. Id. at 64:9–70:10, 72:7–74:13.
      18
 23      Why Buy is not the only course sales consultants must complete to become
      certified. They also must complete product-specific courses that “cover all the
 24   primary reasons a customer would buy a product,” including safety and QDR.
      Ex. R at 85:5–86–8, 93:22–94:6. Some product-specific courses also address resale
 25   value. Id. at 109:3–110:17.
      19
 26      U of T also distributes a newsletter called the “Hot Sheet,” which “helps sales
      consultants understand the product so they can sell cars and truck.” Ex. R at
 27   98:12–102:6; see also Ex. S at 106:6–107:12 (filed under seal); Ex. 250 (Hot Sheet)
      (filed under seal).
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  1   California sales consultant:
  2            There was a survey not long ago that concluded that price isn’t No. 1
  3            on the customer’s list, it’s No. 4. . . . That’s why, to get off price, I
  4            ask questions to find out what matters most to my customers. For
  5            some it’s performance. For some it’s safety. For some it’s reliability.
  6            Then I push those hot buttons by using things like evidence manuals,
  7            the demonstration drive and Toyota publications such as Edge that
  8            have a lot of good competitive comparisons. For example, if you have
  9            a father who’s concerned about the safety of his family, you focus on
 10            crash tests, structural integrity, crumple zones, things like that.
 11   Ex. 252 at 15.20
 12                  3.     Toyota Received Notice of SUA Problems in California.
 13            In his prepared testimony before Congress on February 24, 2010, TMC
 14   President Akio Toyoda attributed the SUA recalls in part to the fact that Toyota’s
 15   “basic stance to listen to customers’ voices” had “weakened somewhat” and, as a
 16   result, “what we lacked was the customers’ perspective.” Ex. T at 2. That failure
 17   to listen to the “customer voice” began in California.
 18            At least 8,754 Toyota drivers reported SUA incidents to Toyota.21           As
 19   explained below, these complaints ultimately were received by TMS in Torrance.
 20   Plaintiffs intend to prove at trial that a clear message emerged from that process:
 21   Toyota vehicles had an unacceptably dangerous propensity to accelerate out of
 22   20
         Exhibit 252 is an issue of “Toyota Today,” which is published by TMS’s
 23   corporate communications department. Ex. R at 120:2–121:2. Its editorial staff is
      based in Torrance. Id. at 123:5–124:5.
 24   21
         That figure is based on consumer complaints that Toyota determined were SUA-
 25   related. Those complaints were produced to NHTSA and, pursuant to Order No. 3,
      to MDL plaintiffs in the form of three Microsoft Access databases. These three
 26   databases, which include SUA complaints relating to floor mats, “sticky” pedals,
      and other potential causes, include 8,754 distinct consumer complaints. Plaintiffs
 27   reserve the right to supplement the record with the databases in the event Toyota
      disputes this figure.
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  1   control without being commanded to do so.
  2         Customers’ voices reached TMS directly through its customer relations
  3   department, which is located in Torrance. That department manages the “Customer
  4   Experience Center,” a telephone call center located on TMS’s south campus with a
  5   staff of well over 100 people that receive calls and correspondence from customers
  6   who have complaints. Ex. B at 268:20–269:9; Ex. F at 37:2–38:14, 75:11–13,
  7   186:25–187:6. The Customer Experience Center has been contacted by thousands
  8   of Toyota customers who experienced SUA.
  9         Customers’ voices also made their way to TMS through warranty claims
 10   processed by TMS’s Warranty Operations department, which has been located in
 11   California throughout the Class Period. Ex. U, No.14. Warranty claims include
 12   information about the condition that prompted the customer’s request and the
 13   dealer’s assessment of the cause. Ex. V at 45:16–46:10.
 14         Customer complaints and warranty claims data are made available to TMS’s
 15   Product Quality and Service Support (“PQSS”) group, located in the Toyota
 16   Quality Center on 190th Street in Torrance. Ex. F at 69:24–70:24, 75:9–11, 84:11–
 17   20; Ex. 50. Before Toyota formed the so-called “SMART Team” in 2010, SUA
 18   complaints received by Customer Relations went to PQSS’s powertrain group. Ex.
 19   F at 69:24–70:21, 106:17–107:13; Ex. 49. PQSS analyzes the data to monitor
 20   trends and look for product problems. Ex. FH at 81:17–83:22; see also Ex. V at
 21   113:17–22, 135:15–136:11 (PQSS analyzes warranty data).
 22         In addition to data analysis, PQSS engineers go to dealerships to inspect
 23   vehicles when, for example, there is a new issue that PQSS wants to know more
 24   about but cannot duplicate. Ex. F at 84:12–85:16. PQSS also distills reports of
 25   product quality issues into “market impact summaries” which summarize the
 26   number of contacts TMS has received on a particular issue. Id. at 90:1–19; see also
 27   id. at 91:16–18 (this process has been in place since at least 2001 or 2002).
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  1                  4.    Defendants’ Acts of Concealment Occurred California.
  2            Although Toyota turned a deaf ear to customers’ voices, NHTSA sometimes
  3   was forced to pay attention if enough consumers complained loudly enough. Each
  4   time, Toyota blamed drivers and floor mats, doing everything possible to divert
  5   attention from other possible causes of SUA, including concealing the existence of
  6   complaints that could not be chalked up to driver error or floor mats.
  7            For example, in 2005, Toyota recalled certain Lexus IS 250s to remedy
  8   inadequate clearance between the pedal linkage and a plastic pad embedded in the
  9   vehicle’s carpet. TMS Quality Compliance Manager George Morino drafted a
 10   letter to IS 250 owners regarding the recall, and sent it to a “liaison group” at TMC
 11   for review. Ex. 205; see also Ex. W at 112:10–19 (TMS prepares owner letters and
 12   a liaison group at TMC confirms the content).22 The draft letter stated that the
 13   “condition may interfere with the accelerator pedal returning to the idle position,
 14   thereby causing temporary loss of vehicle speed control.” Ex. 205 (emphasis
 15   added). The liaison group requested that the letter omit reference to “loss of vehicle
 16   speed control” and instead refer to “driver distraction.” Ex. 206; Ex. W at 106:15–
 17   112:19, 115:11–116:2, 117:3–8. Mr. Morino ultimately disseminated a version of
 18   the letter that did not mention “vehicle speed control.” See Ex. X; see also Ex. 208
 19   (related letter to dealers that does not mention “vehicle speed control”).
 20            A more disturbing act of concealment occurred in 2007 after NHTSA opened
 21   an investigation into all-weather floor mats in MY2007 Lexus ES 350s. After
 22   NHTSA opened the investigation, Toyota discovered that it had received 38
 23   consumer complaints of SUA in ES 350s. Some of those 38 complaints alleged
 24   floor mat interference, but some did not. Ex. Z at 10. For purposes of responding
 25
      22
 26      Mr. Morino’s position is within PQSS. Ex. 49; Ex. F at 131:3–132:6. He is
      responsible for implementing recalls and special service campaigns. Ex. Y at
 27   244:12–20. Mr. Morino has resided and worked in California the entire time he has
      been in that position. Ex. D, No. 111.
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  1   to inquiries regarding the investigation, Mr. Morino and his team drafted a “Q&A,”
  2   which noted the 38 consumer complaints. Id. at 6. TMC’s Mitch Kato recognized
  3   that, as drafted, the Q&A misleadingly suggested that all 38 of the complaints
  4   alleged floor mat interference when in fact that was not true. Id. at 4385. Rather
  5   than disclose that some of the 38 consumer complaints received by Toyota did not
  6   allege floor mat interference—and therefore could have involved other causes of
  7   SUA—Mr. Morino’s team revised the Q&A to state that the complaints “may”
  8   relate to the floor mat issue being investigated by NHTSA. Id. at 20. They then
  9   congratulated themselves after a “Q&A based response” to a media inquiry
 10   succeeded in deflecting scrutiny. Id. at 15.23
 11            C.    In California, Toyota Rejected Claims by Class Members Who
 12                  Experienced SUA.
 13            While the marketing department and PQSS departments were were engaged
 14   in preparing and disseminating false and misleading statements about Toyota
 15   vehicles, TMS’s California-based legal department was busy wrongfully rejecting
 16   claims made by thousands of class members who had experienced SUA.
 17            Naturally, class members across the United States who experienced SUA
 18   believed there was a problem and asked Toyota to inspect their vehicles and solve
 19   the problem. Such claims were referred to TMS’s legal department, which has
 20   always been located in Torrance. See Ex. AA at 12; Ex. O at 66:22–24.
 21            Time after time, those claims were resolved the same way: Toyota denied
 22   the problem by way of letters from TMS claims managers who maintain offices at
 23
      23
         TMS’s corporate communications department also took steps to conceal the SUA
 24   problem. In 2008, facing publicity regarding SUA in Tacomas, TMS Vice
      President for Corporate Communications Irv Miller realized that Toyota’s response
 25   would require “some creativity.” Ex. EE. Communications manager Mike Michels
      retained an outside consultant to prepare a video that purportedly would
 26   demonstrate that “you cannot override the brakes with the throttle.” Id. By this
      time, Toyota was aware of at least one SUA death incident in which the California
 27   Highway Patrol had confirmed that the brakes had been applied for an extended
      period of time but failed to overcome the throttle. Ex. FF.
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  1   19001 South Western Avenue in Torrance. Many of those letters stated that SUA
  2   could not possibly occur unless there was “a simultaneous failure of two totally
  3   independent systems, namely the brake and the throttle systems,” which is
  4   “virtually impossible.” See, e.g., Ex. AA at 16, 33. Toyota’s inspection of class
  5   members’ vehicles conveniently confirmed that both of these systems were
  6   “functioning properly.” Id. at 36; see also SAMCC ¶¶ 329–39 (Doc. 580).
  7         D.    In California, Toyota Decided What to Disclose to NHTSA.
  8         Plaintiffs allege that Toyota violated the early warning requirements of the
  9   TREAD Act, as implemented by NHTSA. See 49 C.F.R. § 579.21, promulgated
 10   pursuant to 49 U.S.C. § 30166(m). NHTSA rules require large auto manufacturers
 11   to file quarterly “early warning reports” (“EWRs”) with detailed information about
 12   incidents involving injury or death where it is alleged that the injury or death was
 13   caused by a possible defect in the manufacturer’s vehicle. Id. § 579.21(b)(1). For
 14   each incident, the manufacturer must identify “each system or component of the
 15   vehicle that allegedly contributed to the incident” using codes prescribed by
 16   NHTSA, including a code for “vehicle speed control.” Id. § 579.21(b)(2).
 17         TMS employees and contractors in Torrance determine what information to
 18   report to NHTSA regarding death and injury incidents. Ex. 232, ¶ 2; Ex. BB at
 19   56:6–59. Those individuals are trained by the TMS legal department in Torrance.
 20   Ex. BB at 64:19–65:13, 71:15–72:12. The incidents are entered into a database
 21   maintained by the TMS legal department, which has its own set of codes. Id. at
 22   63:11–24. TMS developed a system for correlating those codes with EWR codes.
 23   Id. at 70:25–71:9, 72:14–73:13. This process yields a draft EWR that is sent to
 24   TMC for “review and further processing,” which simply involves TMC “mak[ing]
 25   sure it looks appropriate” and occasionally consulting with the TMS legal
 26   department “if they see something unusual” or something is missing from a
 27   “clerical” perspective. Ex. 232, ¶ 3, Ex. BB at 76:23–78:4, 81:8–22, 88:3–8. TMC
 28   consults with TMS before making any changes, but there is no evidence that a
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  1   coding change has ever been made. Ex. BB at 80:15–81:7, 83:16–85:18.24
  2            E.    In California, Toyota Evaluated ETCS and Brake-Override
  3                  Systems for the American Market.
  4            Toyota Technical Center, U.S.A., Inc. (“TTC-USA”) is TMC’s research and
  5   development arm in the United States.25 TTC-USA has operations in Gardena,
  6   California (“TTC-CA” or “TTC-LA”). Among other things, TTC-CA has a drive
  7   train group that evaluates “driveability” from the standpoint of American
  8   customers. Ex. CC at 50:19–20, 51:9–16. The purpose of these evaluations is to
  9   “tune” vehicles to the preferences of American drivers. Id. at 52:8–53:16. This
 10   includes evaluating the “force-stroke” of the accelerator pedal as it relates to the
 11   electronic throttle. Id. at 55:17–56:17. This is a function of algorithms in the
 12   engine control module (“ECM”), the brain of ETCS. Id. at 104:10–106:20.
 13            In fact, in the early 2000 timeframe, TTC-CA studied the ETCS in Toyota
 14   vehicles and benchmarked fail-safe mechanisms in competitors’ electronic throttle
 15   control systems. Id. at 74:7–75:22, 76:20–78:5, 81:22–83:16. And, in a very real
 16   sense, TTC-CA has never stopped evaluating ETCS because, when studying
 17   driveability, “you can’t really not evaluate the ETCS-i since it is a – it’s a function
 18   that you have to evaluate as well. So during any driveability evaluations, ETCS-i
 19
 20   24
         Under NHTSA rules, Toyota also must report the number of property damage
      claims and consumer complaints it has received and to code them using the coding
 21   scheme described above, which includes a code for “vehicle speed control.” Id.
 22
      § 579.21(c). TMS has primary responsibility for receiving and coding these claims,
      Property damage claims are handled the same way as incidents involving injury or
 23   death, as described above. Ex. 232, ¶¶2–3; Ex. BB at 73:17–75:23. Consumer
      complaints are received by the TMS customer relations department, which codes
 24   them and enters them into a database. Ex. BB at 24:25–25:22, 29:7–20. TMS
      developed a system for correlating the codes in the customer relations database with
 25   EWR codes. Id. at 51:12–56:4.
      25
 26     TTC-USA was a California corporation from its founding in 1977 until April 1,
      2006. Ex. CC at 19:5–14. During that time period, TTC-USA was jointly owned
 27   by TMC (80%) and TMS (10%) and two unaffiliated companies (10%). Id. at
      28:4–10. It is still controlled by TMC through subsidiaries. Id. at 30:3–9.
 28
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  1   evaluations would be ongoing as well.” Id. at 77:20–25.26
  2            TTC-CA’s activities are not limited to evaluation. Indeed, in March 2009,
  3   TTC-CA made very specific recommendations to TMC for tuning the Camry’s
  4   brake-override system after evaluating the effectiveness of its software logic. See
  5   Ex. 242 (filed under seal); Ex. DD at 91:14–97:10 (filed under seal). By that point,
  6   TTC-CA had already begun benchmarking and evaluating brake-override systems
  7   in competitors’ vehicles. Ex. CC at 102:7–16, 112:23–114:20. All of this occurred
  8   in California. Id. at 120:3–24. The lack of an adequate brake-override system is a
  9   common defect at issue in this case. 27
 10   IV.      Nationwide Application of California Law Is Constitutional in this Case.
 11            The United States Constitution imposes only “modest” limits on the
 12   application of forum law. Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 818, 105
 13   S. Ct. 2965, 86 L. Ed. 2d 628 (1985) (citing Allstate Ins. Co. v. Hague, 449 U.S.
 14   302, 312–13, 101 S. Ct. 633, 66 L. Ed. 2d 521 (1981)); see also Kelly v. Microsoft
 15   Corp., 251 F.R.D. 544, 550 (W.D. Wash. 2008) (recognizing that the limits are
 16   “modest”).
 17            In Phillips Petroleum Co. v. Shutts, the Supreme Court recognized that a
 18   single state’s law may constitutionally be applied to a nationwide class in two
 19   circumstances. First, if there is no material conflict between the forum state’s law
 20   and the law of other potentially interested jurisdictions, then there is no
 21
      26
 22
        See also Ex. CC at 77:8–12 (“So I would argue that, you know, over the last ten
      years or so, whenever ETCS-i first got applied on to Toyota vehicles, that TTC-LA
 23   has been in some aspects evaluating ETCS-i.”).
      27
 24     TMC’s 30(b)(6) witness was unprepared to answer questions about certain TTC-
      CA activities that plainly were within the scope of the noticed topic. See Ex. 237.
 25   Nevertheless, he couldn’t deny that TTC-CA (1) employs engine calibration
      engineers who diagnose engine control system problems and develop calibration or
 26   software logic countermeasures and (2) has recommended modifications to the
      software logic of the ECM, the brain of ETCS. Ex. 240; Ex. CC at 67:4–70:6,
 27   62:3–64:22. Nor could he deny that the ETCS system was modified or tuned as a
      result of TTC-CA’s testing. Ex. CC at 78:12–23.
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  1   constitutional problem. See id. at 816 (“There can be no injury in applying Kansas
  2   law if it is not in conflict with that of any other jurisdiction connected to this suit.”).
  3         Second, even if there is a material conflict of law, application of a single
  4   state’s law to a nationwide class is constitutionally permissible when that state has
  5   “‘a significant contact or significant aggregation of contacts, creating state interests,
  6   such that the application of its law is neither arbitrary or fundamentally unfair.’”
  7   Id. at 818–19 (quoting Allstate, 449 U.S. at 312–13 (1981)).
  8         That this requirement is constitutional in nature does not mean it is difficult
  9   to satisfy. In Allstate Insurance Co. v. Hague, the Supreme Court upheld the
 10   application of forum law to claims which had only modest connections to the
 11   forum. The plaintiff in Allstate sought to apply Minnesota law to claims against her
 12   deceased husband’s insurance company, based on an accident in Wisconsin in
 13   which her late husband was killed. 449 U.S. at 320. The insurance policies were
 14   issued in Wisconsin, the accident occurred in Wisconsin, and, at the time of the
 15   accident, both the plaintiff and her husband were Wisconsin residents. Id. at 313–
 16   20.   The only connections to Minnesota were that (1) plaintiff had moved to
 17   Minnesota before filing suit, (2) her deceased husband had worked in Minnesota
 18   and had commuted from Wisconsin to Minnesota for work (although he was not
 19   commuting at the time of the accident), and (3) Allstate was present in and doing
 20   business in Minnesota. Id. at 313–20. Despite the overwhelming contacts with
 21   Wisconsin and the relatively minimal contacts with Minnesota, the Supreme Court
 22   held that Minnesota law could be constitutionally applied to plaintiff’s claims. Id.
 23   at 320. Allstate demonstrates the very modest restrictions the constitution places on
 24   the application of a forum state’s law.
 25         Based on this minimal standard, California courts and district courts in the
 26   Ninth Circuit have held that California law can be applied to a nationwide class
 27   when a defendant is based in California and some or all of the challenged conduct
 28   takes place within or emanates from California. See Wershba v. Apple Computer,
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  1   Inc., 91 Cal. App. 4th 224, 243, 110 Cal. Rptr. 2d 145 (2001) (citing California
  2   cases that “hold that a California court may properly apply the [UCL and CLRA] to
  3   non-California members of a nationwide class where the defendant is a California
  4   corporation and some or all of the challenged conduct emanates from California”);
  5   Parkinson v. Hyundai Motor America, 258 F.R.D. 580, 597–98 (C.D. Cal. 2008)
  6   (Stotler, J.) (holding that California’s UCL and CLRA could be applied to
  7   nationwide class claims against the defendant, which was headquartered in
  8   California, because “many of the alleged wrongful acts emanated from . . .
  9   California.”); Mazza v. American Honda Motor Co., 254 F.R.D. 610, 620, 625
 10   (C.D. Cal. 2008) (Fairbank, J.) (applying California’s UCL, CLRA and unjust
 11   enrichment law to nationwide class claims against a California corporation with its
 12   principal place of business in Torrance, California because “[d]efendant’s allegedly
 13   deceptive practices originated in, or emanated from, California.”).28
 14            Plaintiffs’ claims against TMS certainly meet this test.           TMS is
 15   headquartered in Torrance, California. And, as detailed in section III above, much,
 16   if not all, of the wrongful conduct giving rise to plaintiffs’ claims against TMS
 17   occurred in or emanated from California. This includes the deceptive marketing
 18   communications, notice and concealment of the broader SUA problem, and
 19   decisions about which SUA incidents to report to NHTSA and how to characterize
 20   them. As detailed in section V(B) below, California certainly has a strong interest
 21   in regulating misleading marketing campaigns and unfair business practices which
 22   emanate from within its borders.
 23            Although defendant TMC is based in Japan, it also has significant contacts
 24   with California, such that California law can be constitutionally applied to the
 25
      28
 26      See also Chavez v. Blue Sky Natural Beverage Co., 2010 U.S. Dist. Lexis 60554,
      *40 (N.D. Cal. Jun. 18, 2010) (Walker, J.) (applying California’s CLRA, UCL, and
 27   fraud law to claims of nationwide class where “Defendants are headquartered in
      California and their misconduct allegedly originated in California”).
 28
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  1   claims against it. TMC marketed and sold all of the vehicles at issue in this case
  2   through TMS, its wholly-owned, California-based sales and marketing arm in the
  3   United States, which took title to all Subject Vehicles that were distributed in the
  4   continental United States. Ex. D, No. 96. TMC may plainly be held liable for the
  5   conduct of the subsidiary that it condoned.
  6         When a non-resident defendant, like TMC, engages in or directs wrongful
  7   conduct in California, California law may be constitutionally applied, especially
  8   when it does so in conjunction with a California-based defendant.          See, e.g.,
  9   Clothesrigger, Inc. v. GTE Corp., 191 Cal. App. 3d 605, 612–13, 236 Cal. Rptr.
 10   605 (1987) (applying California law to California and non-California defendants
 11   based on California conduct); Intervention, Inc. v. Avanir Pharamaceuticals, No.
 12   A114812, 2007 Cal. App. Unpub. LEXIS 2092, *7–11 (Cal. Ct. App. March 15,
 13   2007) (applying California law to California and Pennsylvania defendants where
 14   they “jointly agreed upon a marketing plan” and “[m]any of [the] representations,
 15   which are the centerpiece of the class claims of false advertising, emanated from
 16   California”); Church v. Consolidated Freightways, Inc., 1992 U.S. Dist. LEXIS
 17   18234, *15–16 (N.D. Cal. Sept. 17, 1992) (applying California law when many, but
 18   not all, of the defendants resided in or conducted business in California and certain
 19   of the alleged misrepresentations emanated from California). Cf. In re Mattel, Inc.,
 20   588 F. Supp. 2d 1111, 1119 (C.D. Cal. 2008) (finding sufficient California contacts
 21   by non-California defendant, Fisher Price, to apply California’s UCL to non-
 22   California plaintiffs).
 23   V.    Toyota Cannot Carry Its Heavy Burden of Demonstrating that Foreign
 24         Law Should Apply.
 25         As explained in section II above, because the nationwide application of
 26   California law is constitutional in this case, California law presumptively applies.
 27   The burden shifts to Toyota to show that (1) the applicable rule of law in each
 28   potentially concerned jurisdiction materially differs from California law, (2) each
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  1   other jurisdiction has an interest in having its laws applied to this case, thereby
  2   creating a “true conflict”; and (3) those jurisdictions’ interests would be more
  3   impaired than California’s interests if their law is not applied in this case. Toyota
  4   cannot carry that substantial burden.
  5         A.     Toyota Cannot Show Material Conflicts of Law.
  6         Plaintiffs need not demonstrate the absence of conflicts of law; the burden is
  7   on Toyota.      Accordingly, this submission does not survey non-California
  8   counterparts to the California claims plaintiffs have asserted. We do, however,
  9   invite the Court’s attention to cases in which defendants tried but failed to
 10   demonstrate material conflicts. These decisions underscore the significance of
 11   Toyota’s burden at the first step of the governmental interest analysis.
 12         In certifying a nationwide class of car owners and lessees pursuing CLRA,
 13   UCL, and FAL claims based on Honda’s omissions with respect to its Collision
 14   Mitigation Braking System, this Court, in Mazza v. American Honda Motor Co.,
 15   supra, 254 F.R.D. at 621, found that Honda did not carry its burden with respect to
 16   the first (or any) step of the “government interests” test. Honda argued that the
 17   UCL differed from the consumer protection statutes of other states based on
 18   varying reliance requirements, forms of relief, necessity of showing scienter, pre-
 19   filing notice requirements, and statute of limitations. This Court held that these
 20   differences were immaterial:     “Although Defendant has pointed out variations
 21   between California law and the relevant law in the other jurisdictions, the Court
 22   finds that Defendant has not met its burden of showing that the differences between
 23   California law and the law of other jurisdictions are material.” Id. at 622 (emphasis
 24   in original). For example, “a CLRA violation, which serves as a predicate UCL
 25   violation under the UCL’s unlawful prong, provides for each of the remedies that
 26   Defendant contends would be unavailable with the application of California law to
 27   a nationwide class.” Id.
 28
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  1            Similarly, in certifying a nationwide class of consumers pursuing CLRA and
  2   UCL claims based on misrepresentations and omissions in the sale of glass-
  3   enclosed gas fireplaces, the court in Keilholtz v. Lennox Hearth Products Inc., 2010
  4   U.S. Dist. Lexis 14553 (N.D. Cal. Feb. 16, 2010), found that the defendants failed
  5   to carry their “substantial” burden at the first step of the governmental interest test.
  6   “Defendants argue that the consumer protection statutes of the non-forum states are
  7   different from those of California and they attach an appendix which catalogues
  8   state-by-state variations involving reliance, scienter, damages and other elements
  9   necessary to Plaintiffs’ claims.” Id. at *27. But “Defendants have not met their
 10   burden of showing that the differences between California law and that of the other
 11   jurisdictions are material.” Like this Court in Mazza, the court in Keilholtz rejected
 12   the argument that California consumer protection laws do not afford the same
 13   remedies as the laws of other jurisdictions because “a CLRA violation, which
 14   serves as a predicate to a UCL violation under the UCL’s unlawful prong, provides
 15   for each of the remedies that Defendants contend would be unavailable with the
 16   application of California law to a nationwide class.” Id. at *28. 29
 17

 18   29
         Although some courts have found material differences between the law of fraud
 19   and warranty in California and those in other states, they ultimately found that the
      defendants failed to carry their burden at Step 3 of the governmental interest test.
 20   See sections V(D)(2)–(3) below (discussing In re Seagate, In re Activision, and In
      re NVIDIA). In Rivera v. Bio Engineered Supplements & Nutrition, Inc., 2008 U.S.
 21   Dist. Lexis 95083 (C.D. Cal. Nov. 13, 2008), this Court noted that there are
 22
      material conflicts between the California law of unjust enrichment and fraud and
      the laws of other states. In Rivera, however, the Court did not conduct a
 23   governmental interest analysis. It was unnecessary to do so because, unlike this
      case, there was no showing that California had significant contacts with the claims
 24   of non-resident class members for purposes of Shutts. Id. at *2. Moreover,
      plaintiffs did not dispute there were differences in the relevant laws. Instead,
 25   plaintiffs argued that the differences were not material because the differences “can
      be managed with appropriate subclasses and jury instructions” without providing
 26   the Court “with sufficient details regarding these subclasses and instructions.” Id.
      at *2–3. As explained in sections III–IV above, in this case, plaintiffs have carried
 27   their burden of showing that federal constitutional requirements are satisfied, which
      shifts the burden to Toyota to rebut the presumption that California law applies.
 28
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  1            And again in Menagerie Productions v. Citysearch, 2009 U.S. Dist. Lexis
  2   108768 (C.D. Cal. Nov. 9, 2009) (Snyder, J.), this Court determined that
  3   “California’s UCL can be applied to the nationwide class, as Citysearch has not
  4   shown that any differences between California law and the law of other
  5   jurisdictions are material.” Id. at *52 (certifying a nationwide class of pay-per-click
  6   advertisers pursuing UCL claims against the defendant website for failing to detect
  7   and prevent “click fraud”); see also Estrella v. Freedom Financial Network, LLC,
  8   2010 U.S. Dist. Lexis 61236, *20 (N.D. Cal. Jun. 2, 2010) (Illston, J.) (applying
  9   UCL nationwide “because defendants have failed to point to any actual conflict in
 10   another state’s unfair competition law”). Because Toyota cannot show that material
 11   conflicts of law exist, it fails Step 1 of the governmental interest analysis.
 12            B.    California Has Strong Interests In Deterring Unlawful Business
 13                  Practices of a Resident Corporation and Compensating Those
 14                  Harmed by Activities Emanating from California.
 15            State and federal courts have recognized California’s strong interests in
 16   regulating the conduct of resident businesses and compensating plaintiffs—
 17   including out-of-state plaintiffs—injured by activities emanating from within the
 18   state.    The California Supreme Court has articulated California’s “clear and
 19   substantial interest in preventing fraudulent practices in this state which may have
 20   an effect both in California and throughout the country.” Diamond Multimedia
 21   Sys., Inc. v. Superior Court, 19 Cal. 4th 1036, 1063, 80 Cal. Rptr. 2d 828 (1999),
 22   cert. denied, 527 U.S. 1003 (1999).          “California also has a legitimate and
 23   compelling interest in preserving a business climate free of fraud and deceptive
 24   practices.”     Id. at 1064.     The California Supreme Court has specifically
 25   acknowledged “the importance of extending state-created remedies to out-of-state
 26   parties harmed by wrongful conduct occurring in California.”            Id. at 1064–65
 27   (citing Clothesrigger, 191 Cal. App. 3d at 615); see also Hurtado v. Superior
 28   Court, 11 Cal. 3d 574, 584, 114 Cal. Rptr. 106 (1974) (“[W]hen the defendant is a
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  1   resident of California and tortious conduct giving rise to the [out-of-state plaintiff’s
  2   claim] occurs here, California’s deterrent policy of full compensation is clearly
  3   advanced by application of its own law.”).
  4         District courts in this Circuit have identified California’s interests in
  5   deterring deceptive conduct emanating from within its borders and compensating
  6   all those injured by activities emanating from California. For example, in Pecover
  7   v. Electronic Arts Inc., 2010 U.S. Dist. Lexis 140632 (N.D. Cal. Dec. 21, 2010)
  8   (Walker, J.), the court certified a nationwide class of consumers pursuing UCL
  9   claims based on the defendant’s anticompetitive conduct in the sale of football-
 10   based interactive video games. In applying the second step of the governmental
 11   interest test, the district court determined that California courts “have recognized
 12   California’s interest in entertaining claims by nonresident plaintiffs against resident
 13   defendants.” Id. at *55. “California, for purposes of its UCL, has a clear and
 14   substantial interest in preventing fraudulent business practices in this state and a
 15   legitimate and compelling interest in preserving a business climate free of deceptive
 16   practices.” Id. at *56. “For this reason, the state has a legitimate interest in
 17   extending state-created remedies to out-of-state parties harmed by wrongful
 18   conduct occurring in California.” Id.; see also CAL. CIV. CODE § 1760 (underlying
 19   purpose of CLRA is to “protect consumers against unfair and deceptive business
 20   practices”); CAL. BUS. & PROF. CODE § 17500 (FAL expressly applies to claims of
 21   non-residents deceived by representations “disseminated from this state before the
 22   public in any state”).
 23         Likewise, in Estrella v. Freedom Financial Network, LLC, supra, 2010 U.S.
 24   Dist. Lexis 61236, the court certified a nationwide class of consumers pursuing
 25   UCL claims based on the defendants’ false advertising of its debt reduction
 26   program. In applying the second step of the governmental interest test, the court
 27   stated that “California has a clear and substantial interest in preventing fraudulent
 28   business practices in this state and a legitimate and compelling interest in
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  1   preserving a business climate free of fraud and deceptive practices, and for that
  2   reason has a legitimate interest in extending state-created remedies to out-of-state
  3   parties harmed by wrongful conduct occurring in California.” Id. at *20 (quoting
  4   Norwest Mortgage, Inc. v Superior Court, 72 Cal. App. 4th 214, 225 (1999); see
  5   also Colorado Casualty Ins. Co. v. Candelaria Corp., 2010 U.S. Dist. Lexis 3136,
  6   *20 (C.D. Cal. Mar. 31, 2010) (Phillips, J.) (describing California’s “clear interest”
  7   in applying its law “to culpable conduct within its borders” and “punishing
  8   wrongdoers and deterring malicious conduct within its borders”).
  9         C.     Toyota Cannot Show a True Conflict Between the Law of
 10                California and States Whose Only Expressed Interest Is Protecting
 11                Consumers.
 12         Where the interests of the forum and foreign states are the same, i.e., to
 13   protect consumers, there is no “true conflict” for purposes of step two of the
 14   governmental interest test, Kearney, 39 Cal. 4th at 107–08, because applying
 15   California law will advance the judicially recognized common interest of each
 16   state’s statute, see, e.g., In re Title U.S.A. Ins. Corp. in Liquidation, 36 Cal. App.
 17   4th 363, 372–73, 42 Cal. Rptr. 2d 498 (1995) (applying California law where “there
 18   is no conflict in the policies behind each state’s law” because “we are confronted
 19   with similar statutory schemes designed to further the same state interest”).
 20         Similarly, there is no true conflict and “California’s more favorable laws may
 21   properly apply to benefit nonresident plaintiffs when their home states have no
 22   identifiable interest in denying such persons full recovery.” Wershba, 91 Cal. App.
 23   4th at 243; see also Hurtado, 11 Cal. 3d at 580 (“Although the two potentially
 24   concerned states have different laws, there is still no problem in choosing the
 25   applicable rule of law where only one of the states has an interest in having its law
 26   applied.”); Downing v. Abercrombie & Fitch, 265 F.3d 994, 1006–07 (9th Cir.
 27   2001) (applying California law where foreign state “had no interest in limiting the
 28   extent of relief that its residents could obtain for a wrongful act against them in
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  1   California”); Menagerie Productions, 2009 U.S. Dist. Lexis 108768, at *52
  2   (“California’s UCL can be applied to the nationwide class, as Citysearch has not
  3   shown that . . . other states have an interest in applying their laws in this case.”).
  4         For example, the court in Mazza determined that Honda had not established a
  5   true conflict because it had “not identified a state with an interest in denying its
  6   citizens recovery under California’s potentially more comprehensive consumer
  7   protection laws, nor has Defendant identified prospective class members who will
  8   be less protected under California law than under their own states’ consumer
  9   protection statutes.” 254 F.R.D. at 623 (emphasis in original); see also Parkinson,
 10   258 F.R.D. at 598 (because “California’s consumer protection laws are among the
 11   strongest in the country . . . the Court does not find a conflict between California’s
 12   consumer protection laws and the applicable laws of the non-forum states”).
 13         Thus, even if Toyota were to establish material differences between
 14   California and other states’ laws, it will still fail at Step 2 unless it can show that
 15   each foreign jurisdiction has an “interest in the application of its own law under the
 16   circumstances of the particular case” so as to create a true conflict with California’s
 17   interests in deterring deceptive conduct emanating from within its borders and
 18   compensating all those injured by that conduct. Kearney, 39 Cal. 4th at 107–08;
 19   see also Offshore Rental Co. v. Continental Oil Co., 22 Cal. 3d 157, 163 (1978)
 20   (“Only if each of the states involved has a legitimate but conflicting interest in
 21   applying its own law will we be confronted with a ‘true conflicts’ case.”).
 22         D.     Toyota Cannot Carry Its Burden of Establishing That Any
 23                Foreign State’s Interests Trump California’s Substantial Interests.
 24         Even if the Court were to conclude that material differences between the laws
 25   of California and foreign states create a “true conflict,” the third step of the
 26   governmental interest test, i.e., the comparative impairment analysis, requires
 27   application of California law because California’s interests would be most impaired
 28   were its law not applied. Kearney, 39 Cal. 4th at 108; Offshore Rental, 22 Cal. 3d
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  1   at 164–65 (“The comparative interest approach to the resolution of such conflict
  2   seeks to determine which state’s interest would be more impaired if its policy were
  3   subordinated to the policy of the other state.”).
  4                 1.    California’s Interests Would Be Most Impaired Given Its
  5                       Deep Commitment to Its Consumer Protection Laws.
  6         An important consideration in the comparative interest inquiry is how
  7   “strongly held” the state’s interest is and “the current status of a statute,” because a
  8   statute “infrequently enforced or interpreted . . . should have limited application in a
  9   conflicts case.” Offshore Rental, 22 Cal. 3d at 165–66. California’s consumer
 10   protection laws have been consistently and frequently applied to protect consumers
 11   and deter deceptive conduct. In two recent decisions, the California Supreme Court
 12   explicitly reiterated these purposes with respect to the UCL. See Kwikset Corp. v.
 13   Superior Court, 51 Cal. 4th 310, 2011 Cal. Lexis 532, *12 (2011) (“Its purpose is to
 14   protect both consumers and competitors by promoting fair competition in
 15   commercial markets for goods and services.”); In re Tobacco II Cases, 46 Cal. 4th
 16   298, 312, 93 Cal. Rptr. 3d 559 (2009) (describing UCL’s “goal of deterring unfair
 17   business practices” and “protecting the general public against unscrupulous
 18   business practices”). This “clear design to protect consumers” goes back decades.
 19   See, e.g., Barquis v. Merchants Collection Ass’n, 7 Cal. 3d 94, 110, 101 Cal. Rptr.
 20   745 (1972).
 21         As for the CLRA, California courts have echoed the legislature’s intent that
 22   the Act be liberally construed to “to protect consumers against unfair and deceptive
 23   business practices.” Consumer Advocates v. Echostar Satellite Corp., 113 Cal.
 24   App. 4th 1351, 1360, 8 Cal. Rptr. 3d 22 (2003); accord Hayward v. Ventura Volvo,
 25   108 Cal. App. 4th 509, 513, 133 Cal. Rptr. 2d 514 (2003).
 26         Thus, California’s commitment to its consumer protection laws is robust, and
 27   “California must be viewed as having a strong and continuing interest in the[ir] full
 28   and vigorous application.” Kearney, 39 Cal. 4th at 125.
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  1                  2.       Applying California Law Will Maximize the Attainment of
  2                           Underlying Purpose by All Concerned Jurisdictions.
  3            “Another chief criterion in the comparative impairment analysis is the
  4   maximum attainment of underlying purpose by all governmental entities.”
  5   Offshore Rental, 22 Cal. 3d at 166. Because California’s interest in protecting
  6   consumers injured both inside and outside of its borders by deceptive practices
  7   emanating from California aligns with foreign states’ interests in protecting their
  8   resident consumers, as discussed above in section V(C), application of California
  9   consumer protection statutes achieves maximum attainment of underlying purpose
 10   by all of the states.
 11            For example, in In re Pizza Time Theatre Sec. Litig., 112 F.R.D. 15 (N.D.
 12   Cal. 1986),30 the court certified a multi-state class of shareholders suing under the
 13   California common law of fraud in connection with a debenture offering. The court
 14   assumed arguendo that defendants satisfied Steps 1 and 2, and then determined that
 15   they had failed to carry their burden with respect to Step 3. The district court
 16   explained that the claims were “complex and expensive to litigate” so that it was
 17   “highly unlikely that any plaintiff will bring an individual suit in California or any
 18   other interested jurisdiction.”      Id. at 20.     Against that backdrop, the court
 19   determined that the “defendants cannot show that any jurisdiction has a greater
 20   interest in applying its own law than in assuring the maintenance of a class action.”
 21   Id. It concluded: “the maximum attainment of the underlying purposes of all the
 22   states will be achieved best by certifying the class.” Id.
 23            Similarly, in Church v. Consolidated Freightways, Inc., 1992 U.S. Dist.
 24   Lexis 18234 (N.D. Cal. Sept. 15, 1992), the court certified a nationwide class of
 25   employees suing under the California common law of fraud for their employer’s
 26
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          Pizza Time was criticized on other grounds by Washington Mutual, 24 Cal. 4th at
 27   921, n.8, to the extent it suggested that choice-of-law disputes need not be resolved
      at the time of class certification.
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  1   misleading recommendation that they participate in its tender offer to acquire a
  2   subsidiary.   “Having reviewed the exhaustive briefing on the laws of various
  3   jurisdictions,” the Court was “not entirely convinced that defendants have met their
  4   substantial burden of establishing a true conflict of law regarding the deceit
  5   claims.” Id. at *13. But “even assuming a true conflict,” defendants have not met
  6   their burden because “California has a strong interest in preventing fraud by
  7   corporations residing and conducting business in California” and [“e]ach
  8   jurisdiction would rather have the injuries of its citizens litigated and compensated
  9   under another state’s law than not litigated or compensated at all.” Id. at *13–14;
 10   see also In re Seagate Tech. Sec. Litig., 115 F.R.D. 264, 271 (N.D. Cal. 1987)
 11   (“foreign states will generally have a greater interest in having the injuries of its
 12   citizens compensated under another state’s law than not at all”).
 13                 3.    California’s Special Interest in Regulating Conduct Within
 14                       Its Borders Makes Its Interests Paramount to Other States’
 15                       Interests.
 16         In performing the comparative impairment analysis, courts “consider each
 17   jurisdiction’s relevant contacts.” Columbia Casualty Co. v. Gordon Trucking, Inc.,
 18   2010 U.S. Dist. Lexis 131616, *20 (N.D. Cal. Dec. 13, 2010) (emphasis added); see
 19   also Abogados v. AT&T, Inc., 223 F.3d 932, 936 (9th Cir. 2000) (“a company’s
 20   contacts with a state that are not significantly related to the cause of action at issue
 21   are an insufficient basis for the application of that state’s law”). Consideration of
 22   those contacts makes clear that California has more and greater interests in having
 23   its laws applied in this case.
 24         To begin with, as explained in section III(A) above, TMS is a California
 25   company through and through. It has been incorporated and headquartered in
 26   California for more than five decades. During the Class Period, TMS paid over
 27   $437 million in taxes to the California Franchise Tax Board, which presumably
 28   derived from revenues from the sale and lease of vehicles nationwide. Ex. D,
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  1   No. 7. California has a superior interest in regulating the conduct that contributes
  2   so substantially to its public coffer. See In re Mercedes-Benz Tele Aid Contract
  3   Litig., 257 F.R.D. 46, 59 (D.N.J. 2009) (“The revenue received by the company was
  4   subject to New Jersey taxes, giving that state and economic stake in the outcome of
  5   this litigation beyond those of others . . . .”). No other state shares that interest—
  6   certainly, at least, not anywhere close to the magnitude of California’s interest.
  7            Further, as explained in section III(B)(1) above, Toyota’s misrepresentations
  8   and omissions regarding the safety and reliability of its vehicles emanated from
  9   Torrance. These misrepresentations and omissions form the core of plaintiffs’
 10   CLRA, UCL, FAL, fraud, and advertisement-based warranty claims. California’s
 11   weighty interest in deterring and remedying that conduct would be most impaired if
 12   those laws were not applied. With respect to the claims for breach of implied
 13   warranty and express warranty (based on Toyota’s written warranty), California’s
 14   contacts are stronger than any other state because TMS’s customer relations,
 15   warranty operations, and product quality departments were put on notice of the
 16   SUA problem in California and rejected SUA claims from California. See section
 17   III(C) above. No U.S. jurisdiction has greater ties to this conduct than California.31
 18            Indeed, the California Supreme Court recently explained that “when the law
 19   of the other state limits or denies liability for the conduct engaged in by the
 20   defendant in its territory, that state’s interest is predominant,” but “in other
 21   instances in which a defendant is responsible . . . through its conduct in California,
 22   this general principle would allocate to California the predominant interest in
 23   31
         Plaintiffs are mindful of the Court’s comments at the January 14, 2011, hearing
 24   where the Court noted the possibility that California law might apply to a
      nationwide class as to the certain claims, but not as to others, Ex. HH at 99:25–
 25   100:8, and posed the question of “whether there is some subset of California claims
      that could be tried on a national basis.” Id. at 100:15–17. Although, as set forth in
 26   this brief, Plaintiffs believe California law should govern all of their state-law
      claims, should the Court, for example, find that only certain claims can be litigated
 27   under California law on behalf of the proposed nationwide class, Plaintiffs will
      address any remaining choice of law issues at the class certification stage.
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  1   regulating the conduct.” McCann v. Foster Wheeler LLC, 48 Cal. 4th 68, 101, 105
  2   Cal. Rptr. 3d 378 (2010) (emphasis in original). In other words, the greater the
  3   contacts with the forum state, the more impaired its interests will be if its laws are
  4   not applied.32
  5            In McCann, the California Supreme Court held that Oklahoma law would be
  6   more impaired where California’s contact to the claim was limited to the fortuity of
  7   the plaintiff having moved here many years after his exposure to asbestos in
  8   Oklahoma.        In this case, by contrast, California’s contacts arise from Toyota
  9   choosing California as the headquarters to oversee its sales and marketing in
 10   California and the rest of the United States. McCann explained that because “a
 11   commercial entity protected by the Oklahoma statute of repose has no way of
 12   knowing or controlling where a potential plaintiff may move in the future,
 13   subjecting a defendant to a different rule of law based upon the law of the state to
 14   which a potential plaintiff ultimately may move would significantly undermine
 15   Oklahoma’s interest in establishing a reliable rule of law governing a business’s
 16   potential liability for conduct undertaken in Oklahoma.” Id. at 98.
 17            Conversely, in certifying a nationwide class in Parkinson, the court rejected
 18   defendant’s argument that “California does not have a greater interest than other
 19   states in applying its law.” 258 F.R.D at 598. The court explained that the
 20   plaintiffs “allege that the wrongful acts underlying those claims emanated from
 21   32
         In McCann, the plaintiff was exposed to asbestos at an Oklahoma oil refinery
 22
      while working in Oklahoma. 48 Cal. 4th at 74. The New York defendant had
      designed, manufactured, and provided advice regarding the installation of a boiler
 23   at the refinery. Id. Eighteen years later, the plaintiff moved to California, and
      forty-four years after the alleged exposure, he brought suit in California state court.
 24   Id. The court held that Oklahoma law, rather than California law, should apply. Id.
      at 76. In conducting the governmental interest analysis, the court determined there
 25   was a material difference between California and Oklahoma’s statutes of limitations
      and that Oklahoma had expressed an interest in “providing a measure of security for
 26   building professionals” in making improvement to real property within the state.
      Id. at 91. The court stated that Oklahoma’s expressed interest in the application of
 27   a statute limiting liability for specified commercial activity carried on within the
      state applied to out-of-state companies doing business within the state. Id. at 93.
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  1   defendant’s California headquarters.” And it determined that Hyundai “does not
  2   adequately rebut plaintiffs’ showing that the representations or omissions made
  3   regarding the [vehicle] emanated from California.” Id. Accordingly, the court held
  4   that Hyundai “does not meet its burden under California’s governmental interest
  5   test with respect to plaintiffs’ CLRA and UCL claims.” Id. at 598.33
  6            Likewise, in In re Activision Sec. Litig., 621 F. Supp. 415 (N.D. Cal. 1985),
  7   the district court certified a nationwide class of shareholders where California had a
  8   greater interest in application of its common law of fraud based on conduct
  9   emanating from the state. “Despite defendants’ showing that material differences
 10   may indeed exist between California [fraud] law and the law of other states,”
 11   defendants failed to overcome their substantial burden of showing “that the interest
 12   of other states in having their laws followed in this case is greater than California’s
 13   interest in applying its own laws” where “Activision’s principal place of business is
 14   in California, the issuance emanated from California, and the purchaser’s
 15   acceptances were directed at California.” Id. at 430–31 (emphasis added).
 16            Similarly, in In re NVIDIA GPU Litig., 2009 U.S. Dist. Lexis 108500 (N.D.
 17   Cal. Nov. 19, 2009), the court determined that “California’s interest would be more
 18   impaired if its [implied warranty] law is not applied because Plaintiffs allege that
 19   the circumstances giving rise to Plaintiffs’ and Class members’ allegations occurred
 20   in the State of California and Defendant is located in California.” Id. at *20. Thus,
 21

 22   33
         On the other hand, the court concluded that California does not have a greater
 23   interest than other states in applying its express warranty law because “denials of
      warranty coverage might accurately be described as occurring in the state where
 24   repair was sought.” Parkinson, 258 F.R.D. at 598. The circumstances here are
      different from Parkinson because ultimately TMS and TMC decide whether to pay
 25   warranty claims, and dealerships are not authorized to perform substantial warranty
      repairs without obtaining the approval of TMS. Ex. V at 27:5–28:14, 32:22–33:21,
 26   35:17–36:18, 46:14–48:13. No state has a greater connection with that conduct
      than California. Further, in Parkinson the express warranty claim was based solely
 27   on Hyundai’s written warranty, whereas the express warranty claims here are based
      also on Toyota’s marketing communications, which emanated from California.
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  1   the court held that “California law governs Plaintiffs’ claims for breach of the
  2   implied warranty of merchantability.” Id. at *21.
  3         Like the defendants’ conduct in Parkinson, In re Activision, and In re
  4   NVIDIA, Toyota’s wrongful conduct within and emanating from California compels
  5   application of California law.       Not only was Toyota’s deceptive advertising
  6   campaign conceived, developed, approved, produced, and disseminated from
  7   California, but TMS’s customer relations, warranty operations, and product quality
  8   departments were also put on notice of the SUA defect in California. No state has
  9   an interest superior to California in regulating this conduct. “Thus, it seems clear
 10   that if California law were not applied its interests would be more impaired.”
 11   Pecover, 2010 U.S. Dist. Lexis 140632, at *60.
 12         In sum, Toyota cannot carry its burden on the third step of the governmental
 13   interest test given California’s deep commitment to its consumer protection laws,
 14   the shared interest of foreign states in protecting consumers, and Toyota’s extensive
 15   injury-producing conduct in California. As stated in Pecover, 2010 U.S. Dist.
 16   Lexis 140632, at *60, “[a]pplying the laws of foreign states will not vindicate
 17   California’s legitimate interests in deterring harmful conduct within its borders,
 18   whereas applying California law to nonresident plaintiffs will vindicate foreign
 19   states’ interests in compensating their residents.”
 20   VI.   Conclusion
 21         It is respectfully submitted that the Court should grant Certain Economic
 22   Loss Plaintiffs’ Motion for the Application of California Law and select the
 23   substantive law of California to govern the claims of Plaintiffs and the nationwide
 24   Classes they seek to represent.
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  2
      Dated: March 4, 2011               Respectfully submitted,

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